                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )       NO. 3:14-00090
                                                     )       JUDGE CAMPBELL
JAMAL COOPER, et al.                                 )

                                             ORDER

       Pending before the Court are the following motions: Defendant Clifford Woods’ Motion

To Sever (Docket No. 458); Defendant D’Ron Robinson’s Motion To Sever And To Adopt

Motion And Memorandum Of Co-Defendant Clifford Woods (Docket No. 469); Defendant

Lonald Ector’s Motion To Sever And To Adopt The Motions And Memoranda Of Defendants

Clifford Woods And D’Ron Robinson (Docket No. 487); Defendant Wallace Earl Coffey’s

Motion To Join In Defendant Thomas Barnett’s Motion To Sever The Defendant And/Or In The

Alternative A Motion to Dismiss, Motion To Sever The Defendant And Motion For Release Of

Brady Materials (Docket No. 488); and Defendant Jasmond Foster’s Motion To Sever And To

Adopt Motion And Memorandum Of Co-Defendants Woods And Robinson (Docket No. 501).

The Government has filed a Consolidated Response (Docket No. 523).

       The Court entered an Order on September 8, 2015 (Docket No. 750) directing the parties

to file any supplemental briefs on or before September 15, 2015. Defendants D’Ron Robinson

and Clifford Woods filed notices with the Court that they had no additional briefing to file.

Neither the Government nor the other Defendants filed any supplemental materials.

       Through their Motions (Docket Nos. 458, 469, 501), Defendants Clifford Woods, D’Ron

Robinson, and Jasmond Foster seek to sever Count Fourteen of the Superseding Indictment

(Docket No. 17) from the trial of the remaining counts. Through his Motion (Docket No. 487),




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Defendant Lonald Ector seeks to sever Counts Fourteen and Sixteen from the trial of the

remaining counts. Defendant Wallace Earl Coffey seeks to sever Count Fourteen from the trial of

the remaining counts, and seeks to sever the other Defendants for trial. (Docket No. 488).1 The

Government has filed a Response (Docket No. 523) opposing the request for severance.

       The Superseding Indictment (Docket No. 17) in this case contains 23 Counts and names

22 Defendants. Since the filing of the Superseding Indictment, Defendant Wallace Beckwith has

been dismissed on the motion of the Government (Docket No. 316); Defendant Donquez Groves

has pled guilty and has been sentenced by the Court (Docket Nos. 498, 643, 644); and

Defendants Robert Foxx and Thomas Barnett have pled guilty and await sentencing. (Docket

Nos. 696, 697, 702, 703).

       Count One of the Superseding Indictment charges 21 of the Defendants with engaging in

a drug trafficking conspiracy involving the distribution of heroin and fentanyl, from California to

locations in Tennessee and Alabama, during the time period from the Summer of 2013 to June

2014. (Id.) Count One describes 64 overt acts, including the death of one individual and the non-

fatal overdose of three individuals as a result of the use of fentanyl purported to be heroin. (Id.)

The remaining counts allege drug trafficking and firearms offenses. (Id.)

       Since the pending motions were filed, the Court has granted the Government’s Motion

(Docket No. 685) To Dismiss Count Fourteen, which alleged a drug trafficking conspiracy



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           Defendant Coffey’s Motion To Sever (Docket No. 488) incorporates two motions filed
by Defendant Thomas Barnett (Docket Nos. 475 and 481). In one Motion (Docket No. 475),
Defendant Barnett sought to sever his case from the trial of the Co-Defendants, and in the other
Motion (Docket No. 481), Defendant Barnett sought to sever Count Fourteen for trial. Since
filing those Motions, Defendant Barnett has pled guilty. (Docket Nos. 702, 703).


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resulting in the death of J.K. (Docket No. 695). Counts Two, Three, Five, Six, Seven, Ten, and

Eleven will not be tried as those counts name Defendant Robert Foxx only, and Count Twenty-

Three will not be tried as that count names Defendant Donquez Groves only.

       Count Sixteen charges Defendants Jamal Cooper, Eric Williams, Darnell Finnels, and

Robert Noel with a conspiracy to possess and discharge a firearm in furtherance of a drug

trafficking crime, in violation of 18 U.S.C. § 924(o). Of the remaining counts, Defendant Eric

Williams is the sole Defendant named in Counts Four, Nine, Twelve, Fifteen, Twenty, and

Twenty-Two; Defendant Jamal Cooper is the sole Defendant named in Counts Eight, Thirteen,

Seventeen, Nineteen, and Twenty-One; and Defendant Darnell Finnels is the sole Defendant

named in Count Eighteen.

       The Court is mindful of the preference for jointly indicted defendants to be tried together

in a conspiracy case unless there is a serious risk that a joint trial would compromise the specific

trial right of one of the defendants. Fed. R. Crim. P. 14(a); Zafiro v. United States, 506 U.S. 534

(1993). In this case, however, having balanced the interests of the parties, the Court concludes

that it is impossible to provide a fair trial to each of the 18 Defendants if they are tried together.

First, none of the courtrooms in this District would accommodate seating, security concerns, and

the other physical requirements for 18 Defendants without the necessity of performing cost-

prohibitive renovations to the facilities. Second, even if such physical concerns could be

accommodated, the logistics of arranging full participation for 19 parties during jury selection,

opening statements, cross examination, closing statements, and other aspects of the trial, would

be overwhelming and most likely result in prejudice to the Defendants. Moreover, requiring the

jury to process the evidence involving 18 different Defendants, and multiple charges for some of


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those Defendants, would be overly burdensome.

        Accordingly, the Court grants severance in this case as follows: Defendants Jamal

Cooper, Lonald Ector, Robert Gonzales, and Eric Williams will proceed to trial as scheduled on

December 1, 2015, at 9:00 a.m., with a Pretrial Conference on November 16, 2015, at 9:00 a.m.

Trial for the remaining Defendants will be set by subsequent order.

        The change of plea date for all Defendants remains set for November 13, 2015, at 9:00

a.m.

        The Court concludes that the period of delay occasioned by the granting of the

continuance for the Defendants who will not be tried on December 1, 2015 is reasonable and

excludable under the Speedy Trial Act, 18 U.S.C. §§ 3161, et seq. The Court specifically finds

that the interests of justice served by granting the continuance outweigh the interests of the

public and the Defendants in a speedy trial on the date previously scheduled. 18 U.S.C. §

3161(h)(7)(A),(B). The Defendants are likely to be prejudiced if they are tried together as

described above, and the public interest will not be served if such prejudice ultimately requires

this case to be retried.

        It is so ORDERED.


                                                      ____________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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